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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


        UNITED STATES OF AMERICA,
             Plaintiff,
                        v.
                                                       Case No. 4:22-cr-00162-ALM-KPJ
        EDWARD WALSH VAUGHAN (1),
        HADI AKKAD (2)
             Defendants.


                                            ORDER

        Upon consideration of Defendants’ Joint Motion for Leave to Make Certain Arguments

 in Closing and the entire record in this case, it is hereby ORDERED that the motion is granted;

 and it is further ORDERED that in closing the parties may (1) argue that particular portions of

 the indictment do or do not allege the "double charge" or ".15/.2% card brand fee" theory, and

 (2) argue that the jury should reject or accept the "double charge" or ".15/.2% card brand fee"

 theory based (among other reasons) on what the indictment alleges.
